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 9 Attorneys for WAYMO LLC

10                             UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13                                            CASE NO. 3:17-cv-00939
     WAYMO LLC,
14                                            PLAINTIFF WAYMO LLC’S RESPONSE
                Plaintiff,                    TO DEFENDANTS’ BRIEF RE UNJUST
15                                            ENRICHMENT PER THE COURT’S
          vs.                                 ORDER (DKT. 2409)
16
   UBER TECHNOLOGIES, INC.;                   Judge: The Honorable William Alsup
17 OTTOMOTTO LLC,
                                              Trial Date: February 5, 2018
18              Defendants.

19
                                              PUBLIC REDACTED VERSION OF
20                                            DOCUMENT SOUGHT TO BE SEALED
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28


                                             WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 2409)
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 1          Waymo submits the following response to the December 18, 2017 Request for Response

 2 from the Court, Dkt. 2409, requesting that Waymo respond to Defendants’ Further Response
 3 Regarding Unjust Enrichment “with respect to whether or not Waymo properly preserved a claim
 4 for damages based solely on acquisition.” Id.
 5          Defendants admit that the statutory text of the CUTSA and DTSA allow unjust enrichment
 6 damages to be awarded for trade secret misappropriation based on acquisition alone, but contend
 7 that such scenarios are “not possible to envision.” Dkt. 2405 at 1. Defendants’ argument, however,
 8 is based on the premise that any such unjust enrichment must be caused solely by the acquisition of
 9 a trade secret and by no other conduct whatsoever. That fundamental premise is wrong and leads
10 Defendants to incorrectly conclude that Waymo has not properly preserved a claim for damages
11 based solely on acquisition. Waymo has preserved such a claim and is entitled to present it to the
12 jury.
13 I.       DEFENDANTS’ PREMISE THAT DAMAGES FOR AN ACQUISITION-BASED
            MISAPPROPRIATION CLAIM MUST BE CAUSED ONLY BY ACQUISITION IS
14          WRONG.
15          According to Defendants, if Waymo prevails on a solely acquisition-based misappropriation
16 claim, Waymo may only recover unjust enrichment caused solely by the acquisition of Waymo’s
17 trade secrets and not any use or other conduct.            In Defendants’ solely acquisition-based
18 misappropriation scenario, the trade secrets must be acquired and then somehow immediately placed
19 inside a figurative black box and never seen, heard from or thought of again. Any additional unjust
20 enrichment that was proximately caused by that acquisition is irrelevant, Defendants argue,
21 especially if it can be in any way characterized as involving any “use” of the trade secrets. But this
22 ignores the cases finding that acquisition alone can support damages and, in particular unjust
23 enrichment, as discussed in Waymo’s Submission Regarding Unjust Enrichment. See Dkt. 2406
24 (discussing examples of competitive knowledge, negative information, and control); see also, e.g.,
25 ATS Prods., Inc. v. Champion Fiberglass, Inc., 2014 WL 466016, at * 3 (N.D. Cal. Feb. 3, 2014)
26 (“It is possible for a party to suffer injury when another party gains control of trade secret
27 information through improper acquisition.”).
28          Importantly, Defendants’ arguments also ignore the fact that both the acquisition of a trade
                                                     -1-
                                                       WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 secret and all other foreseeable consequences of the acquisition that proximately cause unjust

 2 enrichment support damages for a misappropriation claim solely based on acquisition.1 A jury is
 3 not precluded from considering the misappropriator’s “use” of a trade secret—for example, if such
 4 use falls short of constituting misappropriation by use—as part of its damages analysis, especially
 5 if such “use” is a reasonably foreseeable consequence of the misappropriator’s acquisition of the
 6 trade secret and would not have occurred but for the acquisition of the trade secret. As discussed in
 7 previous briefs, misappropriation of trade secrets is an intentional tort, Dkt. 2232 at 6, Dkt. 2077 at
 8 8-9, and damages awards in trade secret cases follow the tort law principles of reasonable
 9 foreseeability and proximate causation:
10          The jury awarded only a fraction of the damages sought, but the question is whether
            it should have awarded anything above $18,000 since the additional damages are
11          not based on the commercial exploitation of Dharma’s trade secret, which is the
            usual form that misappropriation takes. But by refusing to negotiate a license
12
            agreement, MDBS forced Dharma to undertake measures of self-protection likely
13          to irritate Unisys by jeopardizing Unisys’s ability to perform its contract with the
            IRS. The loss of future business with Unisys was a foreseeable consequence of
14          MDBS’s misconduct, and so Dharma was entitled to seek damages for that
            consequence. Consequential damages, as long as they are reasonably foreseeable,
15          are the norm in tort cases (with an irrelevant exception discussed in Rardin v. T &
            D Machine Handling, Inc., 890 F.2d 24 (7th Cir.1989)), and the misappropriation
16
            of a trade secret is a tort; we are just surprised not to have found any case in which
17          consequential damages were awarded for such a misappropriation.

18 Micro Data Base Sys., Inc. v. Dharma Sys., Inc., 148 F.3d 649, 658 (7th Cir. 1998). See also, e.g.,
19 Tracer Research Corp. v. Nat’l Envtl. Servs. Co., 42 F.3d 1292, 1295 (9th Cir. 1994).
20          Damages awarded for an intentional tort do not need to be strictly categorized by the type of
21 misappropriation—the damages only need to be a reasonably foreseeable result of the defendants’
22 misconduct. For example, in Atl. Inertial Sys. Inc. v. Condor Pac. Indus., the defendants disputed
23 whether they benefitted from drawings containing the misappropriated trade secrets submitted to
24
25
        1
           The statutory language of both CUTSA and DTSA provides only that the unjust enrichment
26 must be caused by the misappropriation. See Cal. Civ. Code § 3426.3(a) (“A complainant also
   may recover for the unjust enrichment caused by misappropriation that is not taken into account in
27 computing damages for actual loss.”) (emphasis added); 18 U.S.C. § 1836(b)(3)(B)(i) (limiting
28 recovery to “damages for any unjust enrichment caused by the misappropriation of the trade secret
   that is not addressed in computing damages for actual loss”) (emphasis added).
                                                  -2-
                                                        WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 the U.S. government in order to obtain approval as a government supplier. 2015 WL 3825318, at

 2 *7 (C.D. Cal. June 18, 2015). The court found unequivocally that defendants obtained a benefit,
 3 despite other contributing causes:
 4          Further, defendants plainly obtained a benefit from their use of plaintiff’s trade
            secrets: a government contract to produce and repair gyroscopes. Defendants resist
 5          this conclusion, likewise on the basis that the government’s approval of Condor II
            as a supplier was premised primarily on Condor II’s willingness to become a
 6
            supplier. Defendants effectively contend that the submission of the gyroscopic
 7          drawings was not the proximate cause of the government’s approval decision. The
            Court finds no support in defendants’ briefing or otherwise for the proposition that
 8          the benefit accrued by a defendant through the use of a misappropriated trade secret
            must accrue from the use of the trade secret in isolation. To the contrary, as the
 9          University Computing court explained, the reasonable royalty standard historically
            was used “to deal with the situation where the misappropriated idea is used either
10
            to improve the defendant’s manufacturing process, or is used as part of a larger
11          manufactured product.” 504 F.2d at 536.

12 Id. at *7.
13          Courts applying these tort principles have looked beyond the type of misappropriation at
14 issue to other relevant conduct that was proximately caused by the misappropriation to assess
15 damages. For example, in AT&T Communs. v. Pac. Bell, 1998 U.S. Dist. LEXIS 13459 (N.D. Cal.
16 Aug. 26, 1998), even though the Court found misappropriation under CUTSA based on improper
17 acquisition alone on summary judgment and characterized the case as “simply involv[ing] unlawful
18 access to information,” id. at *6, the Court considered the evidence regarding the degree of the
19 defendants’ use in connection with its assessment of a royalty:
20          In arguing that they have not “used” the computerized data which constitutes the
            trade secrets in this case, defendants mistakenly rely on University Computing.
21          Unlike the misappropriation and attempted sale of a tangible product contemplated
22          by University Computing, this case simply involves unlawful access to information
            about plaintiffs’ customers. The Court has already found that the misappropriation
23          occurred when defendants improperly acquired the TBR. See Summary Judgment
            Order at 12. Because defendants could have lawfully acquired the information
24          through other avenues, the issue of heir intended use of die information in their
            Awards program is irrelevant. See id. That defendants never fully implemented the
25          Awards program based on that access is immaterial to the royalty question. It is
26          relevant, however, that defendants conceded that they referred to the TBR for
            approximately 400,000 high-use customers. It is this use of the data which triggers
27          defendants’ financial obligation. Because the central [*7] element of this case is
            access to the information, not the sale of data or the marketing of the Awards
28          program, once defendants accessed the misappropriated TBR from plaintiffs’
                                                     -3-
                                                       WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1           databases and examined that data they became obligated to pay for their use of that
             unlawfully acquired information.
 2
     Id. at *6-7.
 3
 4           As another example, in Ajaxo Inc. v. E*Trade Fin. Corp., after the first trial, the jury found

 5 misappropriation of Ajaxo’s trade secret wireless trading technology by E*Trade and Everypath.
 6 135 Cal. App. 4th 21, 26 (2005) (“Ajaxo I”). The jury found that E*Trade misappropriated Ajaxo’s
 7 trade secret by improperly disclosing it to Everypath without Ajaxo’s consent in violation of an
 8 NDA, and Everypath misappropriated the trade secret by improperly acquiring and using it to
 9 develop technology that it sold back to E*Trade. Id.; see also Ajaxo Inc. v. E*Trade Fin. Corp.,
10 187 Cal. App. 4th 1295, 1301 (2010) (“Ajaxo II”). By the second trial on damages, Everypath was
11 out of business and only E*Trade remained. Id. at 1302. Although Ajaxo relied solely on an unjust
12 enrichment measure of damages against E*Trade, the discussion of the evidence presented reveals
13 that it involved evidence relating to E*Trade’s use of the misappropriated trade secret technology
14 developed by Everypath, even though E*Trade had been held liable solely on a disclosure-based
15 misappropriation theory:
16           At trial, Ajaxo’s evidence of E*Trade’s unjust enrichment included evidence of the
             price at which it had offered to license its product and the price E*Trade suggested
17           in response. It also included the testimony of Ajaxo’s expert, Walter Bratic, who
             opined that E*Trade’s misappropriation was responsible for 25 percent of the profit
18           generated by all E*Trade clients who opened accounts from September 1999
             through December 2002, the period of time during which E*Trade had presumably
19
             been using the misappropriated trade secrets. Bratic assumed that because wireless
20           trading was one of the four primary business strategies E*Trade had identified in
             its 10–K filings, one fourth of all new accounts opened during the relevant time
21           period had been opened because E*Trade was able to offer wireless trading. One
             fourth of the profit generated from all new accounts opened during the pertinent
22           time period was about $301 million. Bratic did not consider E*Trade’s actual
23           profits from wireless trading or the fact that no more than one half of 1 percent of
             E*Trade clients ever traded on wireless devices. At the close of Ajaxo’s case in
24           chief, E*Trade moved for nonsuit. The trial court denied the motion, concluding
             that there was enough evidence “to go to the jury” on the issue of E*Trade’s unjust
25           enrichment.
             …
26           The jury was instructed that the amount of E*Trade’s unjust enrichment was “the
27           value of E*Trade’s benefit that would not have been achieved except for its
             misappropriation” less “the amount [of] E*Trade’s reasonable expenses....” The
28           jury found that the value of the benefit conferred upon E*Trade by the
                                                      -4-
                                                         WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1          misappropriation was $3,990,852 and that E*Trade’s reasonable expenses were
            $6,411,761, resulting in a net loss of approximately $2.4 million.
 2
     Id. at 1302-03. On appeal, the Ajaxo court upheld the trial court’s exclusion of additional unjust
 3
     enrichment evidence related to investments in Everypath on the basis that those investments
 4
     represented benefits received by Everypath, not E*Trade. Id. at 1305.
 5
            The same principles would apply here in the unlikely event that the jury is faced with
 6
     evaluating unjust enrichment caused by misappropriation based solely on improper acquisition. See
 7
     Dkt. 2406. As in AT&T and Ajaxo II, the relevant inquiry would be the value of Defendants’ benefits
 8
     that would not have been achieved except for its misappropriation. Put another way, had Defendants
 9
     not improperly acquired Waymo’s trade secrets, would they have achieved that benefit? The
10
     common sense answers to those inquiries likely extend beyond the black box of isolated acquisition
11
     that Defendants have conjured up. Cases are rife with examples of defendants arguing, contrary to
12
     the law, that they have not misappropriated the asserted trade secret by “use” because (i) the
13
     defendant only employed the trade secret information in its internal experimentation and it did not
14
     result in a market product,2 (ii) the defendant did not use all features, characteristics, or elements of
15
     the trade secret,3 or (iii) the defendant’s product differs in some respects from the from the trade
16
17
        2
18        See, e.g., 02 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064, 1072
   (N.D. Cal. 2005) (upholding jury’s finding of trade secret misappropriation, “the Court
19 conclude[d] that internal experimentation with trade secret information not resulting in a market
   product can constitute use”); SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D.
20 Cal. 2012) (denying summary judgment on trade secrets misappropriation claim and stating,
   “information may be improperly ‘used’ in that it is unlawfully acquired and then built upon or
21
   modified before being disclosed or benefit derived”).
22     3
           See, e.g., InfoSpan, Inc. v. Emirates NBD Bank, 2015 WL 13357646, at *5 (C.D. Cal. May
   6, 2015) (“the Bank cannot avoid liability for misappropriation by allegedly taking a bundle of
23
   trade secrets and not using the entire bundle, but then selectively choosing which ones it would
24 use. . . . InfoSpan does not argue that the Bank used its SpanCash trade secrets to create a product
   with all the claimed unique features of SpanCash. Instead, InfoSpan contends that it has presented
25 sufficient evidence to show a genuine dispute as to whether the Bank used InfoSpan’s trade secrets
   to research, develop, and/or modify four specific Bank products . . . The Court agrees . . . .”);
26 SkinMedica, 869 F. Supp. 2d at 1197 (“Histogen argues it has not misappropriated the Bioreactor
   Method or Concentration System trade secrets because it does not use several of the claimed
27
   elements . . . [T]his argument misunderstands the law on this point. In the context of trade secret
28 misappropriation, information may be improperly ‘used’ in that it is unlawfully acquired and then
                                                       -5-
                                                          WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 secret.4 While that underscores the need for a jury instruction on misappropriation by use that

 2 addresses these issues, it also highlights the myriad ways that a defendant might “use” a
 3 misappropriated trade secret that is more than putting it in the so-called vault, but is less than using
 4 every element of the trade secret as claimed in its market product. While many of those “uses”
 5 should correctly be found to be misappropriation by use under the law, there is still likely a wide
 6 spectrum of what is commonly referred to as use that would not be considered to be
 7 misappropriation by use. Waymo is entitled to have the jury consider these fact questions if the
 8 situation arises.
 9 II.       WAYMO PRESERVED A CLAIM FOR DAMAGES BASED SOLELY ON
             ACQUISITION.
10
             Starting from a flawed premise, Defendants’ argument that Waymo has not preserved a
11
     claim for unjust enrichment based solely on acquisition improperly ignores relevant disclosures
12
13 regarding unjust enrichment and other damages proximately caused by Defendants’ improper
14 acquisition. Defendants would require any acquisition-based damages disclosure to be wholly
15 disconnected from any discussion of any use of the trade secrets. But, the bar Defendants are trying
16 to set—requiring demonstration of unjust enrichment in the absence of any evidence of use—is too
17
18
19 built upon or modified before being disclosed or benefit derived. . . . [T]his scattershot attempt to
   disclaim use of various elements of the claimed trade secrets does not foreclose the possibility that
20 Histogen’s process was not substantially derived from the claimed trade secrets, even if it differed
   in specifics from the process described therein.”); GSI Tech., Inc. v. United Memories, Inc., 2016
21 WL 3035699, at *6 (N.D. Cal. May 26, 2016) (denying proposed partial use jury instruction that
22 “GSI need not establish that defendants copied every element of GSI’s trade secrets. Use of any
   substantial portion of a trade secret constitutes misappropriation” as incorrect for that case but not
23 disagreeing that it would be appropriate “in some circumstances.”).
         4
24           Speech Tech. Assocs. v. Adaptive Commc’n Sys., Inc., 1994 WL 449032, at *10 (N.D. Cal.
     Aug. 16, 1994) (holding defendants liable on trade secrets misappropriation, “some of the
25   technology used in the new products was different, many of the technical aspects, and most of the
     functional aspects of Prototype # 1 were incorporated into the revised Alltalks. The incidental
26   differences between Prototype # 1 and the redesigned Alltalks do not absolve defendants from
     liability for misappropriation of trade secrets.”); see also InfoSpan, 2015 WL 13357646 at *5 ;
27   Verigy US, Inc. v. Mayder, 2008 WL 564634, at *7 (N.D. Cal. Feb. 29, 2008) (granting
28   preliminary injunction on trade secrets misappropriation claim, “[u]nder California law, minor
     variations in a product do not negate a claim for misappropriation of trade secrets.”).
                                                        -6-
                                                        WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 high. The law does not require Waymo to present self-contained, wholly separate damages theories

 2 and disclosures, one stemming from use alone, and the other stemming from acquisition alone,
 3
     without any overlap. Indeed, the statutory language of CUTSA and DTSA’s unjust enrichment
 4
     provisions address only “misappropriation,” not specific theories of liability, reflecting the overlap
 5
     and fluidity between the evidence relevant to the different theories of liability. Under the proper
 6
     standard, as set forth in Waymo’s Further Response Regarding Unjust Enrichment, Dkt. 2406,
 7
 8 Waymo has preserved damages under an acquisition-based misappropriation claim in its Initial
 9 Disclosures, its Interrogatory Responses and the Amended Joint Pretrial Order. Id.
10          A.      Defendants Ignore Relevant Disclosures of Waymo’s Acquisition Damages
                    Theories in Waymo’s Interrogatory Responses.
11
                    Defendants ignore the overwhelming evidence disclosed in Waymo’s Interrogatory
12
13 Responses that Defendants were unjustly enriched from their improper acquisition and use of the
14 trade secrets—use which is relevant because, but for Defendants’ improper acquisition of Waymo’s
15 trade secrets, it would not have occurred. See, e.g., Rutherford v. Owens-Illinois, Inc., 16 Cal. 4th
16
     953, 968-69 P.2d 1203 (1997) (“California has definitively adopted the substantial factor test of the
17
     Restatement Second of Torts for cause-in-fact determinations. Under that standard, a cause in fact
18
     is something that is a substantial factor in bringing about the injury. The substantial factor standard
19
     generally produces the same results as does the ‘but for’ rule of causation which states that a
20
21 defendant’s conduct is a cause of the injury if the injury would not have occurred ‘but for’ that
22 conduct. The substantial factor standard, however, has been embraced as a clearer rule of
23 causation—one which subsumes the ‘but for’ test while reaching beyond it to satisfactorily address
24
     other situations, such as those involving independent or concurrent causes in fact.”) (internal
25
     citations omitted); Bockrath v. Aldrich Chemical Co., 21 Cal. 4th 71, 79 (1999) (“The substantial
26
     factor standard is a relatively broad one, requiring only that the contribution of the individual cause
27
28 be more than negligible or theoretical. Thus, ‘a force which plays only an “infinitesimal” or
                                                      -7-
                                                         WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 “theoretical” part in bringing about injury, damage, or loss is not a substantial factor’, but a very

 2 minor force that does cause harm is a substantial factor. This rule honors the principle of

 3
     comparative fault.”) (internal citations omitted).
 4
            Contrary to Defendants’ arguments, in Waymo’s Response to Interrogatory No. 13 regarding
 5
     damages, Waymo discloses unjust enrichment damages theories based on misappropriation by
 6
     acquisition, describes acts upon which such theories could be based and provides various alternative
 7

 8 measures of such unjust enrichment. See, e.g., Dkt. 2406-4 at 53-60. For example, among other

 9 things, Waymo’s disclosures include the following measures of unjust enrichment:

10          “the value that was paid (or will be paid) by Uber for Ottomotto and Otto Trucking
11          . . . the misappropriated trade secrets represented a significant portion of the assets
            acquired by Uber,” id. at 53-54 (emphasis added);
12
            “the present value of the additional cash flows that Defendants will earn as a result
13          of Uber’s accelerated development of self-driving car technology,” id. at 55;
14          “the expected cost savings to Defendants from using Waymo’s trade secrets in
15          Uber’s LiDAR systems,” id. at 56; and

16          “the expected cost savings due to reduced development expenses from using
            Waymo’s trade secrets in Uber’s LiDAR systems,” id. at 57.
17
     That some of these measures reference benefits to Defendants as a result of their use of the trade
18

19 secrets does not mean that these disclosures do not also adequately disclose unjust enrichment based

20 on acquisition. In fact, Waymo’s Responses to Interrogatory No. 28 identify multiple damages

21 theories based on Defendants’ improper acquisition, including:

22
            In addition to the value of the accelerated AV development, Uber is also being
23          unjustly enriched by the acquisition and use of Waymo’s trade secrets in terms of
            saved development expenses. When considering whether to acquire Otto, Uber
24          acknowledged that Mr. Levandowski

25

26

27
                           Additionally, since Uber expected that the Otto acquisition would
28          advance its AV development efforts, Uber’s internal valuation of Otto, less an
                                                      -8-
                                                          WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1           amount that can be attributed to Uber’s acquisition of a number of employees, can
             serve as a measure of its estimate of saved development expenses. Defendants’
 2           acquisition, use, and potential disclosure of Waymo’s specific asserted trade secrets
             has been a substantial factor in causing Waymo’s harm or Defendants’ unjust
 3
             enrichment, as described in more detail below.
 4
     Dkt. 2406-5 at 8 (emphasis added). Then, as to each asserted trade secret, Waymo discloses how
 5
     “Defendants’ acquisition and use of Waymo’s Trade Secret . . . is a substantial factor in causing
 6
     Waymo’s harm or Defendants’ unjust enrichment” in greater detail. Id. at 8-17 (emphasis added).
 7
 8           B.      Defendants Ignore Relevant Disclosures of Waymo’s Acquisition Damages
                     Theories in the Amended Joint Pretrial Order.
 9
             Defendants’ Response simply does not address the Amended Joint Pretrial Order, which
10
     identifies both acquisition-based misappropriation and unjust enrichment as issues for trial. Dkt.
11
     2256-4 at 11-12. The Amended Joint Pretrial Order does not limit unjust enrichment to only certain
12
13 types of misappropriation. Id. If Defendants believed that Waymo had not preserved the right to
14 present a claim for damages, specifically unjust enrichment, to the jury on an acquisition-based
15 misappropriation claim, Defendants were free not to agree to the inclusion of the following jointly
16
     identified factual issues that remain to be tried:
17
             4.      Whether Uber misappropriated any of the alleged trade secrets by
18           improperly acquiring, disclosing, or using any of the alleged trade secrets in
             violation of the DTSA or CUTSA.
19           …
             12.     Whether Uber was unjustly enriched by any misappropriation of the alleged
20
             trade secrets by Uber, and if so, the amount of that unjust enrichment.
21
     Dkt. 2256-4 at 11-12. Indeed, when Defendants did not agree that a particular issue should be
22
     presented during trial, they noted their objection in the Amended Joint Pretrial Order, including their
23
24 objection to the inclusion of “disclosing” in a footnote to item 4 above: “Uber disagrees that Waymo
25 is entitled to trial on a disclosure theory.” Dkt. 2256-4 at 11 n.12. Defendants also refused to join
26 in the identification of reasonable royalty as an issue to be tried, which was identified as included
27 solely on behalf of Waymo. Id. at 15 (Item 17). The issues to be tried are limited by the Court’s
28
     order that “[t]he issues to be tried shall be those set forth in the joint proposed pretrial order[.]” Dkt.
                                                          -9-
                                                           WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 1885 at 1.

 2          C.     The Court Has Already Denied Defendants’ Motion to Strike Waymo’s Initial
                   Disclosures as Inadequate.
 3
            Defendants’ attacks on Waymo’s Initial Disclosures are not well taken. As set forth in
 4
 5 Waymo’s Opposition to Defendants’ Motion to Enforce the Court’s June 7, 2017 Order, Strike
 6 Waymo’s Supplemental Initial Disclosure, and Preclude Damages Claims and Certain Witnesses,
 7 Waymo had very little damages-related discovery from Defendants at the time it made its Rule 26
 8 initial disclosures and Waymo’s damages disclosures were adequate under the circumstances. See
 9
     Dkt. 934. Since that time, there has been extensive damages discovery in this case, including
10
     voluminous document discovery, lengthy interrogatories, numerous depositions, expert discovery
11
     and exhaustive Daubert briefing. Defendants have had ample discovery regarding Waymo’s
12
13 damages theories. Thus, not surprisingly, with the exception of specific evidence, the Court largely
14 denied Defendants’ Motion to Strike on November 2, 2017, stating: “With the benefit of Waymo’s
15 full damages theory and the foregoing rulings, this order finds that no further relief is necessary
16
     under these circumstances to remedy any shortfalls in Waymo’s initial disclosures.” Dkt. 2166 at
17
     16.
18
            In addition, the cases Defendants cite, none of which are trade secret cases, are unavailing.
19
     See, e.g., Brandywine Commc’s Tech., LLC v. Cisco Sys., Inc., 2012 WL 5504036, at *2 (N.D. Cal.
20
21 2012) (construing Rule 26(a)(1)(A)(iii) “in the patent-infringement context,” specifically with
22 respect to lost profits and reasonable royalty damages and the information that a patent holder should
23 already know without the benefit of discovery); Easton v. Asplundh Tree Experts, 2017 WL
24
     5483769, at *4 (W.D. Wash. Nov. 15, 2017) (excluding damages where “[a]t no point in this
25
     litigation did plaintiff quantify—even roughly—the amount of actual damages she suffered as a
26
     result of her layoff”); Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175, 1179 (9th Cir.
27
28 2008) (finding plaintiffs who opt in to actions under the Fair Labor Standards Act must make Rule
                                                    -10-
                                                       WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
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 1 26(a) damages disclosures). To the extent Defendants’ citation to Hoffman is intended to suggest

 2 that Waymo could be precluded from seeking damages on its misappropriation by acquisition claim
 3
     without a finding of willfulness or bad faith, it is highly misleading. That is not the law in the Ninth
 4
     Circuit. In the Ninth Circuit, if preclusion, “in practical terms . . . amount[s] to dismissal of a claim,”
 5
     the district court must consider (i) whether the alleged non-compliance involved willfulness, fault
 6
     or bad faith, and (ii) whether lesser sanctions are available. R & R Sails, Inc. v. Ins. Co. of Penn.,
 7
 8 673 F.3d 1240, 1247 (9th Cir 2012). Defendants have never claimed, because there is no evidence
 9 supporting such a claim, that Waymo has acted with willfulness, fault or bad faith.
10           Finally, Defendants’ citation to out-of-context, hypothetical deposition questions posed to
11
     Waymo’s now excluded damages expert could not be more irrelevant to whether Waymo has
12
     preserved damages based solely on acquisition.            Waymo’s Interrogatory Responses and the
13
     Amended Joint Pretrial Order are clear that Waymo has preserved such a damages claim. See Dkt.
14
15 2406-2 at 2–6, 8–9.
16
17 DATED: December 19, 2017                        QUINN EMANUEL URQUHART & SULLIVAN, LLP

18                                                   By /s/ Charles K. Verhoeven
19                                                      Charles K. Verhoeven
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                                                           WAYMO’S RESPONSE RE UNJUST ENRICHMENT (DKT. 240)
